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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Criminal No. 21-CR-245 (AJT)
                                              :
IGOR Y. DANCHENKO,                            :
                                              :
                       Defendant.             :

                     NOTICE OF FILING OF SIGNED
      WAIVER OF ANY ACTUAL OR POTENTIAL CONFLICTS OF INTEREST

       Igor Y. Danchenko, by and through counsel, hereby provides notice of the filing of his

signed waiver of any actual or potential conflicts of interest raised by the United States’ Motion to

Inquire into Potential Conflicts of Interest. Dkt. 35. See Exhibit 1 (December 27, 2021, Signed

Waiver of Potential Conflicts of Interest).




                                              Respectfully submitted,

                                              IGOR Y. DANCHENKO
                                              By Counsel


                                              /s/ Stuart A. Sears
                                              Stuart A. Sears
                                              VA Bar 71436
                                              Attorney for Igor Y. Danchenko
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of January, 2022, I electronically filed a true copy of

the foregoing motion with the Clerk of Court using the CM/ECF system, which will send a

notification of such filing (NEF) to all parties.




                                               /s/ Stuart A. Sears
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                                               VA Bar 71436
                                               Attorney for Igor Y. Danchenko
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